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  UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                       COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                             DUE DATE:
                 CAND 435
            (CAND Rev. 08/2018)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                               3. CONTACT EMAIL ADDRESS


1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                              3. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                               5. CASE NAME                                                                               6. CASE NUMBER




                                                                                                        8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND                                        FTR                APPEAL            CRIMINAL            In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                            NON-APPEAL        CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.     SELECT FORMAT(S) (NOTE: ECF access is included
 a.   HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                             c.        DELIVERY TYPE ( Choose one per line)
                                                                                                with purchase of PDF, text, paper or condensed.)

                    JUDGE             TYPE                    PORTION                       PDF       TEXT/ASCII     PAPER   CONDENSED   ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)       (email)                (email)      (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                            12. DATE
11. SIGNATURE
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CAND 435
(Rev. 08/2018)                                                                          INSTRUCTIONS
Use this form to order the transcription of a record of proceedings.                                        Before completing this form, please visit cand.uscourts.gov/transcripts
for complete transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.
      1.     Complete a separate order form for each case number for which transcripts are ordered.
      2.     Complete a separate order form for each court reporter who reported proceedings in the case.
      3.     Complete Items 1-12. Keep a copy of your completed order form for your records.
      4.     E-file this form in the U.S. District Court CM/ECF system.                     : (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers.
             In such cases, mail or hand-deliver a hard copy addressed to the court reporter supervisor (email list available at cand.uscourts.gov/transcripts/contact) at the
             Court division where the proceeding was held.
      5.     Next, the court reporter/transcriber will contact you to confirm estimated costs and delivery options. Deliver payment to the court reporter/transcriber promptly.
             Upon receipt of the deposit, the court reporter/transcriber will begin work on the transcript.
      6.     Unless prepayment is waived, delivery time is computed from the date the court reporter/transcriber receives the deposit, authorized CJA 24 Form, authorization
             from Federal Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
      7.     The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                           ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 1-3        In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                 paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
Items 5-6.       Only one case number may be listed per order.
Item 7.          Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was audio-
                 recorded. If minutes have not been filed, contact the court reporter supervisor at the division where the hearing was held.
Item 8.          Check appeal OR non-appeal AND criminal OR civil.                         : a court order specifically authorizing transcripts is required before transcripts may be
                 ordered in forma pauperis.
Item 9a.         List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
                 written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”
Item 9b.         Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcripts/rates for details. Unlock
                 ECF/web access is included at no extra charge with each of the other formats.
Item 9c.         There are 7 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
                 the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
                 the 14-day delivery rate would be charged.
                   TRANSCRIPT DELIVERY TIMES:
                         ORDINARY 30 calendar days.
                         14-DAY 14 calendar days.
                         EXPEDITED 7 calendar days.
                         3-DAY 3 calendar days
                         DAILY (NEXT DAY)                                                                                                                                     is a court day.
                         HOURLY (SAME DAY)       hin two (2) hours.
                         REALTIME A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during

Item 11.         Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
Item 12.         Enter the date of signing the order and certification.
